Case 8:15-cv-00192-AEP Document 127-10 Filed 05/02/17 Page 1 of 4 PagelD 1549

Exhibit J
Case 8:15-cv-00192-AEP Document 127-10 Filed 05/02/17 Page 2 of 4 PagelD 1550

24

25

John Ekberg
January 16, 2017

UNITED STATES DISTRICT COURT
FOR THE
MIDDLE DISTRICT OF FLORIDA

AMERTCAN GENERAL LIFE
INSURANCE COMPANY,

Plaintiff,
-VS- Civil Action No. 8:15-cv-192-T-AEP
KEVIN H. BECHTEL, ET AL.,

Defendants.

DEPOSITION OF JOHN EKBERG

Taken on Behalf of the Plaintiff

DATE TAKEN: January 16, 2017
TIME: 10:01 a.m. to 11:03 a.m.

PLACE: U.S. Legal Support, Inc.
444 Seabreeze Boulevard, Suite 433
Daytona Beach, Florida

Stenographically Reported by:
Jennifer Lynn Harris, RPR
Registered Professional Reporter

U.S. LEGAL SUPPORT
(813) 876-4722

Case 8:15-cv-00192-AEP Document 127-10 Filed 05/02/17 Page 3 of 4 PagelD 1551

John Ekberg
January 16, 2017 34

Q. Is that -- which, in turn, you wouldn't know if
solicitors got paid commissions by American General?

A. I do not. I would not, no.

Q. In the documents that you produced, is there
anything in those documents that would indicate one way or
another that either Life Brokerage Partners or Kevin Bechtel
received what you termed, I think, standard terms and
conditions in the industry?

MR. DONAHUE: Object to the form. Foundation.

A. IT would have no knowledge directly whether he
received those forms. He -- I mean, he would have received
the entire contract. Once it was approved and -- by the
company, a complete contract is sent out.

Q. (BY MR. MILLIAN) So would it have been sent by
American General to him once it was countersigned by
American General?

A. That is correct,

Q. Okay. Looking at No. 17 again, is there anything
on that page that would indicate to me or to anybody that,
aside from this page, there's additional terms and
conditions that a person is agreeing to in signing this
page?

A. Not based on this page, no.

Q. Okay. Is there another page that's not included

that you're aware of -- that's not included in your packet

U.S. LEGAL SUPPORT
(813) 876-4722

Case 8:15-cv-00192-AEP Document 127-10 Filed 05/02/17 Page 4 of 4 PagelD 1552

John Ekberg

January 16, 2017 38
1 A. Well, the application is here.
2 Q. Okay. Would it have a different form code though?
3 A. I'd have to look. I mean, it -- that will change
4 over years. In this case, I'm looking -- it has a

5 | different -- 1058. Yeah, it has a different number.

6 Q. I mean, for example, if I want to contract with

7 American General today --

g A. Uh-huh.

9 Q. -- I go on their Web site, I click on the forms,
10 and I find a form that says "Agency Contract" or something
11 | similar, correct?

12 A. Yes.

13 Q. And what would -- if I hit print on that, what
14 would print out?

15 A. Well, it would be a contracting kit. And the

16 people that have access to that are people that are in the
17 hierarchy high enough that recruit other people. So you
18 would hit on the contract kit and it would spit out the

19 entire contract, including the boilerplate, the -- the

20 application with the confidential personal information, all
21 | of that would be there.

22 Q. And what level of person do you need to be to be
23 able to access that application?

a4 A. You need to be at the IMO level.

25 Q. Okay. And what level was Mr. Bechtel at?

U.S. LEGAL SUPPORT
(813) 876-4722
